       Case 3:19-cr-01685-CAB Document 27 Filed 09/20/19 PageID.196 Page 1 of 1


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 5                                  UNITED STATES DISTRICT COURT
 6                        FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES OF AMERICA,                     Case No.: 19-cr-1685-CAB
 9

10                   Plaintiff,                    Order on Motion for
                                                   Settlement Conference
11
             V.
12

13
     RAYMOND LIDDY,

14                   Defendant.
15

16

17           The Court finds Mr. Liddy's waiver under Federal Rule of Criminal Procedure
18   ll(c)(l) is knowing and voluntary. The Court accepts Mr. Liddy's waiver. The Court
19
     refers the matter to United States Magistrate Judge Michael S. Berg for a settlement
20

21   conference.
22
             It Is So Ordered.
23

24

25                z/2uln
     Dated: ----,;<---+-(-,,;;=.=.+--{~ -
                                                  Honorable Cathy Ann Bencivengo
26
                                                  United States District Judge
27
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